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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MICHIGAN




Deborah Howard, et al.,

                                    Plaintiff(s),

v.                                                      Case No. 2:20−cv−10382−NGE−DRG
                                                        Hon. Nancy G. Edmunds
City of Detroit, et al.,

                                    Defendant(s).




                                   CERTIFICATE OF SERVICE

   I hereby certify that a copy of the Notice(s) of Appeal filed in this case and this Certificate
of Service was served upon:

                      United States Court of Appeals for the Sixth Circuit
                      Potter Stewart U.S. Courthouse
                      100 East Fifth Street, Fifth Floor
                      Cincinnati, OH 45202−3988

and all interested parties, by electronic means or first class U.S. mail, on March 16, 2021.




                                                    KINIKIA D. ESSIX, CLERK OF COURT


                                                By: s/ D. Allen
                                                    Deputy Clerk


Dated: March 16, 2021
